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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:05:CR:96
v.
                                                      HON. GORDON J. QUIST
DEMOND SHONTE ATKINS,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed May 8, 2006, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Demond Shonte Atkins' plea of guilty to Count One of the Superseding

Information is accepted. Defendant Demond Shonte Atkins is adjudicated guilty.

       3.      Defendant Demond Shonte Atkins shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: May 22, 2006                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
